     Case: 5:19-cr-00206-KKC-EBA Doc #: 560 Filed: 01/06/22 Page: 1 of 1 - Page ID#: 5020
                                             UNITED STATES DISTRICT COURT
                                            EASTERN DISTRICT OF KENTUCKY
                                            CENTRAL DIVISION AT LEXINGTON
                                            CRIMINAL MINUTES – SENTENCING

Case No. 19-cr-206-KKC-EBA-S-4                        At Lexington                 Date January 6, 2022

USA vs. Clinton Portis                           X present       custody          bond    X OR       Age

DOCKET ENTRY: Proceedings held as noted. There were no objections to the Presentence Report. The Court adopts
the factual findings and guidelines as calculated in the Presentence Report. There were no objections to the sentence as
stated.

PRESENT: HON. KAREN K. CALDWELL, U.S. DISTRICT JUDGE

     Genia Denisio                    None                Linda Mullen          John Francis Scanlon; Andrew E. Smith
     Deputy Clerk                  Interpreter            Court Reporter                Assistant U.S. Attorney



Counsel for Deft:        Andrew T. George; Adam
                         Clay Reeves; Kyle A.
                         Clark; Julie B. Rubenstein   x    present         x retained             appointed


PROCEEDINGS: SENTENCING (Non-Evidentiary)

            Objections to Presentence Report.

     x      No objections to Presentence Report.

     x      Defendant advised of appellate rights.

     x      Transcript shall be deemed as written findings of Court.

     x      Judgment shall be entered (See Judgment & Commitment.)

            Defendant shall remain on conditions of release until self-report date of MARCH 8, 2022 by 2:00 p.m. at the
     x      facility designated by the Bureau of Prisons.

 Copies: USP,USM,COR

Initials of Deputy Clerk: gld
TIC: 30 min
